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     10-299MICHAEL B. BIGELOW
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     Email: LawOffice.mbigelow@gmail.com
 4
     Attorney for Defendant
 5   Louie Salazar
 6                        IN THE UNITED STATES DISTRICT COURT
 7                 IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA                 )   Case No. Cr.S    10-299-07 WBS
 9                                            )
              Plaintiff                       )   AMENDED STIPULATION
10
                                              )   AND PROPOSED ORDER
11
                                              )   CONTINUING STATUS
                      v                       )
12                                            )   ORDER (PROPOSED)
     LUIE SALZAR                              )
13                                            )
              Defendant                       )
14                                            )

15
         It is hereby stipulated between the parties that status in
16
     this matter, as to this defendant only, be continued to June 6,
17
     2016 at 9:00 AM. The parties are engaged in discussions that may
18

19   lead to resolution and the government is in the process of

20   providing defendant with additional discovery.

21       For the purpose of computing time under the Speedy Trial Act,

22   18 U.S.C. § 3161, et seq., within which trial must commence, the

23   time period of April 25, 2016 to June 6, 2016 inclusive, is deemed
24   excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B (iv) [Local
25
     Code T4] because it results from a continuance granted by the



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     Court at defendant’s request on the basis of the Court's finding
 1
     that the ends of justice served by taking such action outweigh the
 2
     best interest of the public and the defendant in a speedy trial
 3

 4   pursuant to 18 U.S.C. § 3161(h).

 5       4.   Nothing in this stipulation and order shall preclude a

 6   finding that other provisions of the Speedy Trial Act dictate that

 7   additional time periods are excludable from the period within

 8   which a trial must commence.
 9

10
         Dated: April 20, 2016                Respectfully submitted,
11
                                              /s/MICHAEL B. BIGELOW
12                                            Michael B. Bigelow
                                              Attorney for Defendant
13

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15
                               IT IS SO STIPULATED
16

17
     DATED: April 20, 2016            /s/MICHAEL B. BIGELOW
                                      Michael B. Bigelow
18
                                      Attorney for Defendant Salazar
19

20   DATED: April 20, 2016            /s/JUSTIN LEE
                                      Justine Lee
21                                    Assistant United States Attorney

22

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                                       ORDER
 1
         IT IS ORDERED: that pursuant to stipulation the above matter
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     shall be continued until June 6, 2016, at 9:00 AM, and time
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 4   excluded for the reasons set forth above.

 5   Dated:   April 25, 2016

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